      Case 9:17-bk-11830-DS        Doc 84 Filed 05/16/18 Entered 05/16/18 11:29:48            Desc
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1    SANDRA K. MCBETH
     7343 El Camino Real #185
2    Atascadero, CA 93422
                                                                   FILED & ENTERED
     Telephone: (805) 464-2985
3    Facsimile: (805) 357-5905
4                                                                         MAY 16 2018
     Chapter 7 Trustee
5                                                                    CLERK U.S. BANKRUPTCY COURT
                                                                     Central District of California
6                                                                    BY bertelsen DEPUTY CLERK
                            UNITED STATES BANKRUPTCY COURT
7                            CENTRAL DISTRICT OF CALIFORNIA
                                   NORTHERN DIVISION
8

9    In re                                       )   Case No. 9:17-BK-11830-PC
                                                 )   Chapter 7
10
     PATRICK DENNIS,                             )
11                                               )   ORDER ON MOTION AUTHORIZNIG
                         Debtor.                 )   TRUSTEE TO COMPROMISE
12                                               )   CONTROVERSY
                                                 )
13                                               )
                                                 )   NO HEARING REQUIRED
14                                               )   FRBP 9019/LOCAL RULE 9013-1(O)
                                                 )
15                                               )
                                                 )
16                                               )
                                                 )
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             The court has reviewed the “Motion Authorizing Trustee to Compromise
19
      Controversy with Randall Fox and Atlanta Foundation for Public Spaces, LLC” (the
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21    “Motion,” Docket No. 80) filed by chapter 7 trustee Sandra K. McBeth (the “Trustee”).

22     The Motion was served and filed pursuant to Local Rule 9013-1(o). The declaration

23    indicating no opposition had been received has been submitted, no opposition has
24
      been filed, due notice having been given, and good cause appearing therefor,
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             IT IS HEREBY ORDERED that the Trustee’s Motion is approved pursuant to the
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      terms stated in the original Motion; and
27
     ///
     Case 9:17-bk-11830-DS    Doc 84 Filed 05/16/18 Entered 05/16/18 11:29:48   Desc
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1        IT IS FURTHER ORDERED that the Trustee is authorized to execute all
2    documents necessary to complete the compromise.
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24       Date: May 16, 2018

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